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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


JOHN F. HUBER                                 *       CIVIL ACTION
           Plaintiff
                                              *       NO. _____________
VERSUS
                                              *       SECTION:                MAG: ( )
UNITED STATES OF AMERICA
          Defendant                           *       COMPLAINT UNDER
                                                      FEDERAL TORT CLAIMS ACT

                                         COMPLAINT

       Plaintiff, John F. Huber, a person of the age of majority, and residing in Orleans Parish,

State of Louisiana complains against defendant, the United States of America, alleging:


                                        JURISDICTION

       1.     The jurisdiction of this court is based upon the Federal Tort Claims Act, 28

              U.S.C. § 1346(b), 2671-2680 and 28 U.S.C. § 1331.

       2.     Plaintiff is a citizen of the United States and of the full age of majority.

       3.     Plaintiff filed an administrative claim, Standard form 95 and attachment, with the

              Southeast Louisiana Veterans Health Care System of New Orleans in New

              Orleans, Louisiana, via certified mail on May 29, 2018 as required by 28 U.S.C. §

              2675(a), and was notified by the Office of General Counsel of its receipt of

              plaintiff’s “tort claim” by letter dated June 12, 2018.

       4.     The plaintiff was notified by certified letter dated July 15, 2019 that his claim was

              denied. Accordingly, pursuant to 28 U.S.C. § 2401(B) suit is timely if filed

              within six(6) months of the date of letter denying plaintiff’s claim.
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                                             VENUE

       5.      Venue is proper under 28 U.S.C. § 1402(b) because all of the acts and omissions

complained of herein occurred in Orleans Parish, Louisiana, within the Eastern District of

Louisiana, New Orleans Division.

                                     CLAIM FOR RELIEF

                                                1.

       Plaintiff, John F. Huber, is a disabled veteran who has received treatment for years at the

Veteran’s Administration Medical Center and rehabilitation facility in New Orleans, Louisiana,

or Southeast Louisiana Veterans Health Care System of New Orleans –an agency and/or

instrumentality of defendant, United States of America. (Veteran’s Hospital)

                                                2.

   In 2010 Mr. Huber began taking NSAID medication prescribed by VA physician Dr. Louis

Chavez. Mr. Huber took these medications consistently for six years through mid-2016. The

NSAID medications included Ibuprofen, Naproxen, and Meloxicam at prescribed maximum

dosage.

                                                3.

       In April, 2016, Dr. Christopher Westley reviewed Mr. Huber’s physical status. Dr.

Westley’s office notes state that Mr. Huber was still taking 15 mg. Meloxicam at that time. He

further suggested that Mr, Huber had kidney problems and recommended dietary changes and

ceasing NSAID. Mr. Huber was concerned about possible kidney problems and decided to get a

second opinion to determine the nature and extent of his kidney difficulties.
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                                                    4.

       Mr. Huber sought treatment at Ochsner Clinic in June, 2016. He visited Dr. Ivestar who

referred Mr. Huber to Ochsner nephrologist Dr. Antonio Jimenez. Dr. Jimenez examined Mr.

Huber on June 28, 2016. After examination, Dr. Jimenez June 28, 2016 office records show:

       “Assessment:…CKD unlikely at this time.”

                                                    5.

       Mr. Huber had followed up properly to investigate the VA’s assessment that he suffered

with CKD. Ochsner nephrologist Jimenez apparently disagreed with the VA’s assessment after

his examination of Mr. Huber on June, 28, 2016. This left Mr. Huber in a state of confusion with

Ochsner stating that CKD was unlikely.

                                                    6.

       Mr. Huber continued treatment with Ochsner and was referred to Ochsner nephrologist

Dr. Teresa Liccardi. Mr. Huber attests that it was not until the September 28, 2017 visit to Dr,

Liccardi that he was fully apprised of the full extent of the NSAID damage to his kidneys, and

that he would likely need dialysis in the future.

                                                    7.

       The September 28, 2017 visit to Dr. Liccardi was the first occasion that Mr. Huber was

fully apprised and made aware of the full extent of the actual damage to his kidneys, that is

potential kidney failure and dialysis, caused by the prolonged use of NSAIDS.
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                                                  8.

       Mr. Huber alleges that the VA physicians and staff negligently prescribed NSAID

medication for over six years causing irreparable, ongoing, continuous, and cumulative damage

to his kidneys.

                                                  9.

       Mr. Huber alleges that the VA physicians and staff failed to properly warn Mr. Huber of

the potential danger presented by prolonged use of NSAIDS.

                                                  10.

       Mr. Huber further alleges that VA physicians and staff failed to properly monitor Mr.

Huber’s ongoing laboratory results so that remedial and preventive measures could be taken to

prevent damage to his kidneys.

                                                  11.

       The physicians and any other health care providers responsible for Mr. Huber’s care and

treatment fell below the applicable standards of care in the following non-exclusive respects:

       a)         Negligent prescribing of NSAIDS over an excessive and prolonged period

                  resulting in kidney damage and potential dialysis;

       b)         Failure to properly warn Mr. Huber of the potential danger of prolonged NSAID

                  usage;

       c)         Failure to properly monitor Mr. Huber’s ongoing condition and laboratory results

                  so that remedial and preventive measures could be taken to prevent damage to his

                  kidneys;
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       d)      Any and all other allegations of negligence that may be discovered during the

               proceedings or at trial of this matter.

                                                  12.

       At all relevant times and dates herein, the VA Hospital physicians and staff, and other

health care providers responsible for Mr. Lebeau’s care and treatment were employees and/or

agents of the VA Hospital, Southeast Louisiana Veterans Health Care System of New Orleans

and acting within the scope of their offices and/or employment, which agency is therefore

responsible, both independently and vicariously, for their negligent acts and/or omissions.

                                                  13.

       Plaintiffs aver that the professional negligence and medical malpractice of the VA

physicians, staff, nurses and other health care providers as set forth above was the factual, legal

and proximate cause of, or substantial contribution to Mr. Huber’s damages, physical and mental

pain and suffering, loss of enjoyment of life, loss of a chance of a successful outcome, future

medical care from and including the date of the malpractice, including potential kidney dialysis

or transplant, probable complications of future treatment, said damages in the full amount of

TWO MILLION DOLLARS($2,000,000).

       WHEREFORE, plaintiffs respectfully pray for judgment against the defendant as

follows:

       I.      For damages in the sum of $2,000,000.00 plus interest and costs; and

       II.     For such other and further relief as the court may deem just and proper in the

               premises.

       III.    Plaintiff requests a trial before a jury.
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                       Respectfully Submitted,


                       s/ Charles G. Justice, III
                       ________________________________________
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